                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

                     Plaintiff,                               Case No. 3:12-cv-519

           v.

REX VENTURE GROUP, LLC d/b/a
ZEEKREWARDS.COM, and PAUL BURKS,

                     Defendants.



            NON-PARTY BANCA COMERCIALA VICTORIABANK SA’S
     MOTION BY SPECIAL APPEARANCE TO DISMISS RECEIVER’S MOTION TO
    TURN OVER ASSETS AND/OR FIND IT IN CONTEMPT, AND FOR DISSOLUTION
               OF FEBRUARY 12, 2016 ORDER FREEZING ASSETS

           Non-party Banca Comerciala Victoriabank SA (“Victoriabank”), a foreign commercial

bank organized under the laws of Moldova, makes this special appearance to contest this Court’s

exercise of personal jurisdiction over it.1 Victoriabank requests that the Court dismiss and deny,

on the grounds of lack of personal jurisdiction and failure of the Receiver to effect appropriate

service of process, the Receiver’s pending motion seeking findings of contempt against

Victoriabank and joint and several liability against Victoriabank in the amount of

$13,174,015.48 (the “Receiver’s Motion” [ECF No. 469]). Victoriabank further requests that the

Court dissolve its February 12, 2016 Order freezing $13,174,015.48 in funds held at

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  Victoriabank makes this special appearance for the purpose of contesting this Court’s exercise
of jurisdiction over Victoriabank and Victoriabank’s property. In making such special
appearance, Victoriabank does not waive, and intends to preserve, all objections to this Court’s
exercise of jurisdiction over Victoriabank and Victoriabank’s property. Furthermore, by making
this special appearance, Victoriabank in no way waives service of process as required by Federal
Rule of Civil Procedure 4(h)(2). Undersigned counsel represents Victoriabank for the purpose
of contesting this Court’s exercise of jurisdiction over Victoriabank and Victoriabank’s property
and is not authorized to accept service of process on behalf of Victoriabank.



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Victoriabank’s correspondent bank account located in New York at the Bank of New York

Mellon (the “2016 Freeze Order” [ECF No. 470]), on the grounds that the Court lacked personal

jurisdiction over Victoriabank when it entered that Order, and the Order is otherwise void.

           In support of this motion, Victoriabank relies upon its supporting memorandum of law

and the affidavits of Corneliu Popovici and Sergiu Bivol, filed contemporaneously herewith.

           Respectfully submitted, this 19th day of April, 2016.



                                                      By:       s/ Kiran H. Mehta
                                                            Kiran H. Mehta
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                                                      Attorneys for Movant Banca Comerciala
                                                      Victoriabank, S.A.




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                                    CERTIFICATE OF SERVICE


           I hereby certify that the foregoing NON-PARTY BANCA COMERCIALA

VICTORIABANK SA’S MOTION BY SPECIAL APPEARANCE TO DISMISS

RECEIVER’S MOTION TO TURN OVER ASSETS AND/OR FIND IT IN CONTEMPT,

AND FOR DISSOLUTION OF FEBRUARY 12, 2016 ORDER FREEZING ASSETS was

electronically filed with the Clerk of Court using the CM/ECF system, which automatically

serves notification of such filing to all counsel of record.

           This 19th day of April, 2016.
                                                          s/ Kiran H. Mehta
                                                       Kiran H. Mehta
                                                       North Carolina Bar No. 11011




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